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IN THE UNITED STATES DISTRICT COURT 95 JUH ...'? PH [+; 114
FOR THE WESTERN DIS'I'RICT OF TENNESSEE

WESTERN DIVISION HGBERrE-D;TRGUO
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EDGAR MCDANIEL ,
Plaintiff,
Civ. No. 04-2667-B[P

'V'S.

AMERICAN GENERAL FINANCIAL
SER.VICES, INC.,

Defendant.

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ORDER FOLLOWING HEARING DENYING PLAINTIFF'S
MOTION FOR PROTECTIVE ORDER

 

Before the court is plaintiff's Motion for Protective Order,
filed April ll, 2005 (dkt #42). In his motion, plaintiff asks the
court to either prohibit or impose limits on the scope and manner
in which the defendant deposes the plaintiff, based on plaintiff's
mental condition. On April 22, 2005, defendant American General
Financial Services, Inc., filed its response. On May 26 and June
3, 2005, the court held a hearing on the motion. Counsel for all
interested parties were present and heard. On June 7, 2005, the
court held a telephone conference with the parties, at which time
the court, ruling from the bench, denied the motion for protective
order for the following reasons:

A party seeking a protective order must show good cause and a

  
   

   

specific need for protection. See Bucher v. Richardson Hos

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Authority, 160 F.R.D. 88, 92 (N.D. Tex. 1994). The court must
balance the competing interests of allowing discovery and
protecting the parties and deponents from undue burdens. ;QA A
protective order prohibiting depositions are rarely granted, and a
party seeking to quash a deposition in its entirety has a heavy
burden of demonstrating good cause. ldé The movant must show a
particular and compelling need for such an order. lgé

The court finds that the evidence presented by the plaintiff
does not rise to the level of "extraordinary circumstances“
necessary to prohibit the defendant from deposing plaintiff. gee
;d; The record before the court demonstrates that plaintiff is
capable of discussing the events surrounding the transaction at
issue in this lawsuit as well as his mental condition. Although
the plaintiff has presented some medical evidence through Dr. Dale
Foster that putting the plaintiff to adversarial proceeding, such
as a deposition, might heighten his levels of anxiety and
depression, this evidence does not establish that the plaintiff
will be irreparably harmed by a deposition. Dr. Foster, in his
reportr states that plaintiff “may have lost his sense of purpose
in life and considered self-harm or suicide." At the June 3
hearing, Dr. Foster further stated that he believes a deposition in
which plaintiff is confronted by defense counsel with
inconsistencies in his testimony could increase the possibility

that plaintiff may have suicidal thoughts. The court finds,

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however, that implementing procedural safeguards similar to the
safeguards set forth in Bucher will adequately protect the
plaintiff while at the same time providing the defendant with a
fair opportunity to defend the case. Therefore, the plaintiff‘s
deposition will be taken under the following conditions: (l) the
deposition shall take place at a location selected by the
plaintiff; (2) only defense counsel will be allowed to attend the
deposition on behalf of the defendant; (3) the plaintiff may have
his therapist or psychologist present at the deposition; (4) the
plaintiff may take breaks after each hour of questioning; and (5)
counsel shall refrain from tactics calculated to confuse, annoy,
harass, or imply doubt regarding the veracity of the witness.
Plaintiff's arguments that his psychologist should be allowed
to screen questions or that plaintiff be allowed to provide written
responses are not well-taken, for the reasons set forth in Bucher.

IT IS SO ORDERED.
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TU M. PHAM
United States Magistrate Judge

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Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
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Honorable .1. Breen
US DISTRICT COURT

